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                   UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF NEW YORK


             NORTHERN DISTRICT UNIFORM PRESENTENCE ORDER


UNITED STATES OF AMERICA

       vs.                                           Criminal No: 1:22-CR-98 (GTS)

CARL J. DiVEGLIA, III


      A presentence report is ordered and the sentencing of this defendant is scheduled
for August 25, 2022 at 11:00 AM at the United States Courthouse in Albany NY.

      The presentence report shall be available no later than forty-five (45) days before
the sentencing date. It shall be the obligation of defense counsel to obtain the report as
soon as it is available and discuss its contents with his/her client.

       Objections to the presentence report, either by the government or defense counsel,
shall be submitted in writing (in letter form) to the U.S. Probation Office and opposing
counsel within fourteen (14) days of disclosure of the report. The government shall, at the
same time, make known whether it is their intention to make a motion under U.S.S.G.
Section 5K1.1, for substantial assistance to the authorities. Both the government and
defense counsel shall, at the same time, make known their intention to make any other
motion(s) for downward departure.

      After receipt of this information, the U.S. Probation Office shall, if necessary,
schedule and hold a sentencing conference with the government and defense counsel to
attempt to resolve the objections to the presentence report. Such conference, if held, shall
be scheduled within seven (7) days of receipt of the written objections.

       No later than TWENTY-ONE (21) DAYS PRIOR TO THE DATE OF SENTENCING,
all counsel shall, unless otherwise directed by the Court, submit a sentencing
memorandum not to exceed 10 pages in length. This memorandum shall include
objections to the presentence report which could not be resolved and any
recommendations, motions or other material which may impact the sentence imposed.
This memorandum shall be filed electronically.

       Parties must file electronically any papers in response to these submissions within
seven (7) days thereafter. The U.S. Probation Office shall submit the presentence report
with an addendum setting forth any unresolved objections to the Court no later than seven
(7) days before sentencing. The Probation Office shall simultaneously provide the
government and defense counsel with any revisions to the presentence report and the
addendum.
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        NOTE: If for any reason, the government or defense counsel want any of their
submissions sealed, they should prepare and submit an application to seal and provide the
Court with a sealing order with the submission to be sealed. Sealed documents are not
filed electronically, therefore these documents shall be filed and served in the traditional
manner.

       The time limits stated in this order are in calendar days. These procedures must
be followed to allow sufficient time for the Court to read and analyze the material
submitted.

IT IS SO ORDERED,

DATE: April 14, 2022
